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                            EXHIBIT 2(b)
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                                                                                                               Corporate Human Relations




                                                                                                         Original Issue:            12/01/2008
    Area of application:         All Continental U.S. locations                                          Effective Date:            02/01/2019


                                                             Bereavement Leave

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I. PURPOSE

This policy defines the provisions of bereavement leave for Continental, the “Company”. For purposes of this
policy, the Company includes the following legal entities: Continental Automotive Systems, Inc., Continental
Intelligent Transportation Systems, LLC, Continental Powertrain USA, LLC, Tire the Americas, LLC, ContiTech
North America, Inc. ContiTech Oil & Marine Corp. and its subsidiaries.1

II. SCOPE

This Policy applies to all full-time, non-represented salaried and hourly employees. Benefits eligible part time
employees are eligible for a pro-rated benefit. Contractors and interns are not eligible.

III. EFFECTIVE

This Policy is amended effective as of the date indicated and any and all prior plans, programs, policies or
practices of the Company relating to the Policy are hereby superseded.

IV. POLICY

The company provides employees with the Company time away from work to attend to funeral rites or
arrangements for designated family members. The pay for this time off is for absences only on normally
scheduled work days, including shift differential, if applicable, and the daily paid hours equivalent will be no
more than the normal scheduled work day hours.




1
 For the following entities utilizing a combination of corporate policies and location policies, please see Human Relations for the
appropriate policy: Continental Intelligent Transportation Systems, LLC, O’Sullivan Films, Inc., Bestdrive, LLC, Hoosier Racing
Tire, Corp., Continental Advanced Lidar Solutions US, LLC and Zonar Systems, Inc.


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The Company will provide up to five (5) days (less than or equal to 40 hours paid time) off with pay in the
event of a death of a legal spouse, child or step child.

The Company will provide up to three (3) days (less than or equal to 36 hours paid time) off with pay in the
event of the death of a parent, step parent, sister, brother, grandparent, grandchild; or for in-laws (spouse’s
parent, sister, brother or grandparent, son or daughter-in-law).

The day following the funeral is normally considered the last day for which bereavement leave will be
extended. However, employees may elect Paid Time Off, if needed in conjunction with a leave, provided they
have approval from their immediate supervisor.

Veterans or reservists of the Armed Services will also be permitted leave to prepare for and serve on an honor
guard at the funeral of a veteran.


V. PROCEDURE

An employee needing time off for bereavement must follow normal notification procedures to inform his/her
immediate supervisor and the Human Relations Department of the need for time off and the relationship
involved.

If the leave time is approved, Human Relations encodes the pay system for the time missed as approved
leave time and confirms the leave to the employee and to the supervisor.

Time off under this policy will count toward eligibility for overtime pay.

Upon returning to work, the employee should provide the Human Relations Department with appropriate
documentation to support the leave request.

An employee on workers compensation leave or other approved leave of absence from the Company is not
eligible for bereavement leave. Should a bereavement situation occur during Company vacation shutdown
periods, or designated plant holidays the employee may not apply for additional time under this bereavement
leave policy.

Should an employee be overpaid bereavement benefits, the Company has the right to recover those payments
through subsequent payroll cycles to recover the overpayments or from their final pay with the Company.




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VI. ADMINISTRATION

The Corporate Human Relations Department of the Company is responsible for administering this Policy.
   The “Company” as defined above reserves the right to interpret any questions which may arise concerning
   the eligibility, application or implementation of this Policy. Any questions concerning this Policy should be
   directed to the Vice-President of Human Relations, North America or his/her designee.

   The Company reserves the right to amend or terminate this Policy at any time.       Any amendments shall be
   executed by the Vice President of Human Relations, North America.

   This Policy does not constitute an employment contract, nor is it intended to make commitments concerning
   their employment with the Company. Employment with the Company is “at will”. The Company and its
   employees are in an employment relationship that can be ended by either party, at any time and for any
   reason that either deems appropriate.




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